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   DEPARTMENT OF HEALTH & HUMAN SERVICES                                         Office of the Secretary
                                                                    Assistant Secretary for Public Affairs
                                                                               Washington, D.C. 20201


Refer to: Request Number 2022-01186-FOIA-OS

September 16, 2022

Sent via email:
Reed Rubinstein
foia@aflegal.org

Dear Reed Rubinstein:

This acknowledges receipt of your September 14, 2022 Freedom of Information Act (FOIA)
request submitted to the Department of Health and Human Services FOI/Privacy Acts Division
concerning “FOIA about Ivermectin. See attached PDF.
 I. Custodians
        a. Janet Woodcock
        b. Rick Bright
        c. Gary Disbrow
        d. Denise Hinton

II. Requested Records
We request the following records for the above four custodians during the timeframe of
March 1, 2020, to August 1, 2021:

        A. All records, including but not limited to email, texts, memoranda, and handwritten
notes, including the words “ivermectin,” “early (drug) treatment,” “early treatment,”
“remdesivir,” or “horse.” ...

(Date Range for Record Search: From 03/01/2020 To 08/01/2021)”.

We received your request on September 14, 2022 and are referring it to the Food and Drug
Administration (FDA) regarding (Janet Woodcock and Denise Hinton) and to the National
Institutes of Health (NIH) regarding (Rick Bright) for direct response to you. Because HHS
FOIA administration is decentralized, your request will be process in this office for Gary
Disbrow.

Upon receipt, the FDA and NIH will log your request, and provide you with a new tracking
number for your reference. You may check the status of your request with FDA at (301) 796-
3900 or email: fdafoia@fda.hhs.gov and NIH at (301) 496-5633 or email nihfoia@od.nih.gov for
assistance. With this Office using the above number 2022-01186-FOIA OS.

If you are not satisfied with any aspect of the processing and handling of this request, you have
the right to seek dispute resolution services from:
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                    HHS FOIA/PA Public Liaison
                    FOI/Privacy Acts Division
                    Assistant Secretary for Public Affairs (ASPA)
                    Office of the Secretary (OS)
                    U.S. Department of Health and Human Services (HHS)
                    200 Independence Avenue, SW, Suite 729H
                    Washington, DC 20201

                    Telephone: (202) 690-7453
                    Fax: (202) 690-8320
                    E-mail: HHS_FOIA_Public_Liaison@hhs.gov

and/or:

                    Office of Government Information Services
                    National Archives and Records Administration
                    8601 Adelphi Road – OGIS
                    College Park, MD 20740-6001

                    Telephone: 202-741-5770
                    Toll-Free: 1-877-684-6448
                    E-mail: ogis@nara.gov
                    Fax: 202-741-5769

                                                Sincerely,


                                                Ray Noussoukpoe
